          1:18-cv-01446-MMM-JEH # 29 Page 1 of 1                                     E-FILED
            Case: 19-2272  Document: 1-3    Filed: 07/08/2019  Pages:
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                                                                   08 July,
                                                               Clerk, U.S. District Court, ILCD

     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


Everett McKinley Dirksen United States Courthouse                             Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                   Phone: (312) 435-5850
             Chicago, Illinois 60604                                         www.ca7.uscourts.gov




                                         NOTICE OF DOCKETING - Short Form
 July 8, 2019


 The below captioned appeal has been docketed in the United States Court of Appeals for the
 Seventh Circuit:

                    Appellate Case No: 19-2272

                    Caption:
                    NATHAN SIGLER,
                    Plaintiff - Appellant

                    v.

                    GEICO CASUALTY CO. and GEICO CORPORATION,
                    Defendants - Appellees


                    District Court No: 1:18-cv-01446-MMM-JEH
                    District Judge Michael M. Mihm
                    Clerk/Agency Rep Shig Yasunaga

                    Date NOA filed in District Court: 07/03/2019


 If you have any questions regarding this appeal, please call this office.



 form name: c7_Docket_Notice_short_form(form ID: 188)
